Case 1:07-cv-00541-LG-JMR Document 43-2

Filed 03/05/08 Page 1 of 36

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

SOUTHERN DIVISION

RODERICK CLARK MILLER
VERSUS

HARRISON COUNTY, MISSISSIPPI, by and
through its Board of Supervisors, HARRISON
COUNTY SHERIFF DEPARTMENT, SHERIFF
GEORGE PAYNE, officially and in his

individual capacity, DIRECTOR OF CORRECTIONS
MAJOR DIANNE GATSON-RILEY, officially

and in her individual capacity, BOOKING
SUPERVISOR CAPTAIN RICK GASTON,

Officially and in his individual capacity,

TRAINING DIRECTOR CAPTAIN PHIL TAYLOR,
Officially and in his individual capacity,

CENTRAL CONTROL OFFICER PRESTON WILLS,
Officially and in his individual capacity, BOOKING
ROOM DEPUTY JERRED MARK NECAISE,
officially and in his individual capacity, |

BOOKING ROOM DEPUTY CATHERINE.
PAVOLINI, officially and in her individual capacity,
AMERICAN CORRECTIONAL ASSOCIATION,

and OTHER UNKNOWN JOHN and JANE DOES
A-Z, also in their official and individual capacities

PLAINTIFF

CAUSE NO. 1:07cv541LG-JMR

DEFENDANTS

FIRST SET OF INTERROGATORIES PROPOUNDED TO
PLAINTIFF BY DEFENDANT SHERIFF GEORGE PAYNE, JR.,
OFFICIALLY AND IN HIS INDIVIDUAL CAPACITY

COMES NOW Defendant, Sheriff George Payne, Jr., Officially and in His

Individual Capacity, and by way of Interrogatories in accordance with the Federal Rules

of Civil Procedure, and does hereby propound the following discovery unto the Plaintiff,

Roderick Clark Miller. This discovery is continuing in nature and requires you to file

supplemental answers in accordance with the Federal Rules of Civil Procedure if you

obtain further or different information after submission of your initial answers before

EXHIBIT

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trial, including in each supplemental answer the date and manner in which further or
different information came to your attention. The Interrogatories are propounded as
follows, to-wit:

INTERROGATORY NO. 1: Please identify yourself fully giving your full name,

any aliases, age, date and place of birth, and social security number. If you have
changed your name, please also provide your legal birth name.

INTERROGATORY NO. 2: Please list all of your residences, including the street

addresses, city or town, and state for the past ten (10) years, as well as your reason for
moving from each address.

INTERROGATORY NO. 3: Have you ever been convicted of a felony or a

misdemeanor criminal offense? If your answer is in the affirmative, please furnish
specifics concerning each offense, including the date, place, disposition of case, cause
number, court, and sentence imposed.

INTERROGATORY NO. 4: Please state and describe in full and complete detail

each and every alleged act and/or omission on the part of Defendant Sheriff George
Payne which you contend he performed or failed to perform herein; and as to each and
every such act or omission, state the following:
a. The statute, regulation and/or legal duty violated by such
performance or non-performance;
b. The specific manner and circumstances in which you contend the
performance or non-performance of the acts and/or omissions

violated the statute, regulation and/or duty, and in which you
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contend constitutes a basis for your claim;

C. Specifically state whether you contend that jurisdiction in this case
is based on an alleged violation of 42 U.S.C. §1983 by any of the
Defendants;

d. The identity of each person by name, address, telephone number
and occupation performing or failing to perform such act and/or
omission; and

e. The exact time and date at and on which you contend that the

alleged act or omission occurred.

INTERROGATORY NO. 5: Have you ever been involved as a plaintiff or
defendant in any other lawsuits or any other claims for money damages? If your
answer is in the affirmative, please furnish specifics concerning the allegations of any
such lawsuits or claims, including the names of all parties thereto, the court, the state,
the county, and case number under which the lawsuit was filed and the disposition of
same.

INTERROGATORY NO. 6: Are you now or have you ever been married? If your

answer is in the affirmative, please list the maiden and married name of your past or
present spouse or spouses; last known address(es), telephone number(s), and place(s)
of marriage(s) and reason(s) for termination of the marriage(s). Please provide the
same information for any children you have, whether you had them with one of your

spouses or not.
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INTERROGATORY NO. 7: State in specific detail the facts which support your

claims against Defendants, Harrison County Sheriffs Department, Sheriff George
Payne, Phil Taylor, Dianne Gatson-Riley, Catherine Pavolini, and Preston Wills in his
official capacity, and state in what manner you contend these Defendants allegedly
violated your rights, constitutional or otherwise, giving rise to your claims against them,
and please state each and every act or omission committed by these Defendants which
you claim makes them liable to Plaintiff.

INTERROGATORY NO. 8: Please list and describe every specific incident,

including the date and time of each incident, and any and all witnesses to the incident,
whereby you claim that your constitutional rights were allegedly violated by Defendants,
and please state how each Defendant allegedly violated yours rights.

INTERROGATORY NO. 9: Please identify by name, address, and telephone

number any and all witnesses whom you will or may call at the trial of this cause.

INTERROGATORY NO. 10: Please identify by name, address, and telephone

number all individuals with discoverable knowledge of the events complained of in your
Complaint.

INTERROGATORY NO. 11: Please identify each individual whom you propose

to call as an expert witness at the trial of this cause, stating the subject matter on which
the expert is expected to testify, the substance of the facts and opinions to which the
expert is expected to testify, and a summary of the grounds for each such opinion.
Please also furnish as a part of your answer to this Interrogatory, a resume or

curriculum vitae of each proposed expert witness.
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INTERROGATORY NO. 12: Do you contend that there was in existence an

official policy, practice or custom which resulted in injury or damage to you? If yes,

a. Identify and describe the official policy, practice, or custom;

b. State the date on which the policy, practice or custom commenced;

c. State all the underlying facts on which you base your answers to “a” and
“b” above.

INTERROGATORY NO. 13: List the names and addresses of all physicians and

other health care or mental health care providers who examined or treated you for any
injuries claimed by you as a result of the incidents described in your Complaint, stating
the dates of treatment, reasons for each visit and any diagnoses rendered.

INTERROGATORY NO. 14: Please identify each and every hospital, clinic,

medical facility, or mental health facility at which you have been examined, confined, or
treated for any injury or condition claimed by you to be the result of the incidents
alleged in your Complaint, and please list as to each such facility its complete name,
address, and dates of treatment.

INTERROGATORY NO. 15: Please describe in detail any and all injuries you

allege to have suffered as a result of this incident. Include in your description any and
all medical, physiological, psychological, mental health, or other treatment you have
received or continue to receive as a result of this incident, including the names and
addresses of any and all physicians, hospitals, physiologists, counselors, or other

health care providers rendering treatment.
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INTERROGATORY NO. 16: Please provide an itemized and detailed list of all

damages which you claim to have suffered as a result of the incidents alleged in your
Complaint, and please identify in this list each and every piece of evidence which you
believe will support your claims.

INTERROGATORY NO. 17: Have you obtained any statements, whether written,

recorded, oral, or otherwise, from any of Defendants or any of their agents, employees,
or representatives? If so, please identify the name of each individual from whom you
obtained such statement, the date such statement was taken and who has custody of
said statement. Please also provide a brief description of the substance of said
statement.

INTERROGATORY NO. 18: Please describe in detail all of your activities on

April 17, 2004, including in your description times, places, and the substance of what
occurred, as well as the names of any individuals who may be witnesses to your
activities on said date.

INTERROGATORY NO. 19: Are you alleging that Sheriff George Payne, Jr.

personally caused or participated in any of the alleged violations of your constitutional
rights contained in the Complaint, or are your claims against him based on his position
as Sheriff of Harrison County?

INTERROGATORY NO. 20: In your Complaint, you allege a count for “Action for

Deprivation of Civil Rights (42 USC §1983).” Regarding these allegations please state
the following:

a) Each and every specific fact and/or opinion relied upon you in support of
the allegations set forth in the Complaint.
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b)

d)

(e)

The source of each fact or opinion relied upon you in support of the
allegations set forth in the Complaint.

Identity and description of any records, documents and other tangible
evidence which you contend support the allegations contained in the
Complaint.

The identity of the person or persons who has custody of such records,
documents and other tangible evidence which support the allegations set
forth in the Complaint.

The identity of any and all persons who have facts and/or knowledge
which you contend supports the allegations set forth in the Complaint.

INTERROGATORY NO. 21: In your Complaint, you allege a count for

“Conspiracy to Interfere With Civil Rights (42 USC §1985).” Regarding these

allegations please state the following:

a)

b)

c)

d)

(e)

Each and every specific fact and/or opinion relied upon you in support of
the allegations set forth in the Complaint.

The source of each fact or opinion relied upon you in support of the
allegations set forth in the Complaint.

Identity and description of any records, documents and other tangible
evidence which you contend support the allegations contained in the
Complaint.

The identity of the person or persons who has custody of such records,
documents and other tangible evidence which support the allegations set
forth in the Complaint.

The identity of any and all persons who have facts and/or knowledge
which you contend supports the allegations set forth in the Complaint.

INTERROGATORY NO. 22: In your Complaint, you allege a count for “Neglect

or Failure to Prevent Conspiracy (42 USC §1986).” Regarding these allegations please

state the following:
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d)

(e)

Each and every specific fact and/or opinion relied upon you in support of
the allegations set forth in the Complaint.

The source of each fact or opinion relied upon you in support of the
allegations set forth in the Complaint.

Identity and description of any records, documents and other tangible
evidence which you contend support the allegations contained in the
Complaint.

The identity of the person or persons who has custody of such records,
documents and other tangible evidence which support the allegations set
forth in the Complaint.

The identity of any and all persons who have facts and/or knowledge
which you contend supports the allegations set forth in the Complaint.

INTERROGATORY NO. 23: In your Complaint, you allege a count for “Failure to

Adequately Train and Supervise Deputies.” Regarding these allegations please state

the following:

a)

b)

c)

d)

(e)

Each and every specific fact and/or opinion relied upon you in support of
the allegations set forth in the Complaint.

The source of each fact or opinion relied upon you in support of the
allegations set forth in the Complaint.

Identity and description of any records, documents and other tangible
evidence which you contend support the allegations contained in the
Complaint.

The identity of the person or persons who has custody of such records,
documents and other tangible evidence which support the allegations set
forth in the Complaint.

The identity of any and all persons who have facts and/or knowledge
which you contend supports the allegations set forth in the Complaint.

INTERROGATORY NO. 24: In your Complaint, you allege a count for “Negligent

Hiring Retention and Failure to Discipline or Take Necessary Corrective Action.”
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Regarding these allegations please state the following:

a)

b)

Cc)

d)

(e)

Each and every specific fact and/or opinion relied upon you in support of
the allegations set forth in the Complaint.

The source of each fact or opinion relied upon you in support of the
allegations set forth in the Complaint.

Identity and description of any records, documents and other tangible
evidence which you contend support the allegations contained in the
Complaint.

The identity of the person or persons who has custody of such records,
documents and other tangible evidence which support the allegations set
forth in the Complaint.

The identity of any and all persons who have facts and/or knowledge
which you contend supports the allegations set forth in the Complaint.

INTERROGATORY NO. 25: In your Complaint, you allege a count for “Civil

Conspiracy.” Regarding these allegations please state the following:

a)

b)

Cc)

d)

(e)

Each and every specific fact and/or opinion relied upon you in support of
the allegations set forth in the Complaint.

The source of each fact or opinion relied upon you in support of the
allegations set forth in the Complaint.

Identity and description of any records, documents and other tangible
evidence which you contend support the allegations contained in the
Complaint.

The identity of the person or persons who has custody of such records,
documents and other tangible evidence which support the allegations set
forth in the Complaint.

The identity of any and all persons who have facts and/or knowledge
which you contend supports the allegations set forth in the Complaint.

INTERROGATORY NO. 26: In your Complaint, you allege a count for “Breach

of a Non-Delegable Fiduciary Duty.” Regarding these allegations please state the
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following:

a) Each and every specific fact and/or opinion relied upon you in support of
the allegations set forth in the Complaint.

b) The source of each fact or opinion relied upon you in support of the
allegations set forth in the Complaint.

Cc) Identity and description of any records, documents and other tangible
evidence which you contend support the allegations contained in the
Complaint.

d) The identity of the person or persons who has custody of such records,
documents and other tangible evidence which support the allegations set
forth in the Complaint.

(e) The identity of any and all persons who have facts and/or knowledge
which you contend supports the allegations set forth in the Complaint.

INTERROGATORY NO. 27: In your Complaint, you allege a count for “The

Common Law Tort of Outrage.” Regarding these allegations please state the following:

a) Each and every specific fact and/or opinion relied upon you in support of
the allegations set forth in the Complaint.

b) The source of each fact or opinion relied upon you in support of the
allegations set forth in the Complaint.

Cc) Identity and description of any records, documents and other tangible
evidence which you contend support the allegations contained in the
Complaint.

d) The identity of the person or persons who has custody of such records,
documents and other tangible evidence which support the allegations set
forth in the Complaint.

(e) The identity of any and all persons who have facts and/or knowledge
which you contend supports the allegations set forth in the Complaint.

INTERROGATORY NO. 28: In your Complaint, you allege a count for “Negligent

Infliction of Emotional Distress.” Regarding these allegations please state the following:

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a)

b)

d)

(e)

Each and every specific fact and/or opinion relied upon you in support of
the allegations set forth in the Complaint.

The source of each fact or opinion relied upon you in support of the
allegations set forth in the Complaint.

Identity and description of any records, documents and other tangible
evidence which you contend support the allegations contained in the
Complaint.

The identity of the person or persons who has custody of such records,
documents and other tangible evidence which support the allegations set
forth in the Complaint.

The identity of any and all persons who have facts and/or knowledge

‘which you contend supports the allegations set forth in the Complaint.

INTERROGATORY NO. 29: In your Complaint, you allege a count for “Breach

of Third-Party Beneficiary Contract.” Regarding these allegations please state the

following:

a)

b)

Cc)

d)

(e)

Each and every specific fact and/or opinion relied upon you in support of
the allegations set forth in the Complaint.

The source of each fact or opinion relied upon you in support of the
allegations set forth in the Complaint.

Identity and description of any records, documents and other tangible
evidence which you contend support the allegations contained in the
Complaint.

The identity of the person or persons who has custody of such records,
documents and other tangible evidence which support the allegations set
forth in the Complaint.

The identity of any and all persons who have facts and/or knowledge
which you contend supports the allegations set forth in the Complaint.

INTERROGATORY NO. 30: If you are alleging any emotional distress claim or

other mental health injuries as a result of the allegations contained in the Complaint,

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please state whether you have ever received any treatment for any type of mental
health problems prior to April 17, 2004, and if so, please identify by name, address, and
telephone number each and every individual or facility which provided such treatment,
the dates of such treatment, and a description of any diagnoses rendered.
RESPECTFULLY SUBMITTED, this 15" day of November, 2007.

SHERIFF GEORGE H. PAYNE, JR., OFFICIALLY
AND IN HIS INDIVIDUAL CAPACITY

BY: DUKES, DUKES, KEATING & FANECA, P.A.

BY: s/Cu Faneca ( MH faptea,
Cy Faneca . J

CY FANECA, MSB #5128

TRACE D. MCRANEY, MSB #9905

DUKES, DUKES, KEATING & FANECA, P.A.

2909 - 13TH STREET, SIXTH FLOOR

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GULFPORT; MISSISSIPPI 39502

TELEPHONE - (228) 868-1111

FACSIMILE - (228) 863-2886

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Case 1:07-cv-00541-LG-JMR Document 43-2 Filed 03/05/08 Page 13 of 36

CERTIFICATE OF SERVICE

|, CY FANECA , do hereby certify that | have this day electronically filed the
foregoing with the Clerk of the Court using the ECF system which sent notification of
such filing to the following:

Michael W. Crosby
2111 25" Avenue
Gulfport, Mississippi 39501
Attorney for Plaintiff

Joseph Meadows, Esq.
Post Office Drawer 550
Gulfport, Mississippi 39502
Attorney for Harrison County

James L. Davis, Ill, Esq.
P.O. Box 1839
Gulfport, MS 39502
Attorney for Rick Gaston

George D. Hembree, II!
McGlinchey Stafford
P.O. Drawer 22949
Jackson, MS 39225
Attorney for American Correctional Association

This, the 15th day of November, 2007.

s/Cy Faneca Cu 14 Fe
x

Cy Faneca

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AU  ORIZATION FOR RELEASE OF ALL RI RDS

EXCEPT PSYCHOTHERAPY NOTES
Name: Roderick Clark Miller
Date of birth:

Social Security Number:

I hereby authorize all health care providers, physicians, hospitals, clinics and institutions, medical facilities, mental health clinics, mental health
hospitals, pharmacies, educational facilities, former and present employers, and Social Security Administration Disability Determination Services, The
Internal Revenue Service and Department of Workers' Claims, to release all existing medical records and information regarding the above named
individual’s medical care, treatment, physical/mental condition, and medical expenses revealed by your observation or treatment of this individual in
the past, present and future, as well as all educational and employment records, to the attention of

Cy Faneca, Esq.

Dukes, Dukes, Keating and Faneca, P.A.
P.O, Drawer W

Gulfport, MS 39502

I understand that this authorization includes information regarding the diagnosis and treatment of drug, alcohol, Acquired Immune Deficiency
Syndrome (AIDS), and psychiatric and psychological disorders [EXCEPT Psychotherapy Notes* as defined by the Health Insurance Portability and
Accountability Act 45 CFR 164.501, psychotherapy notes means notes recorded (in any medium) by a health care provider who is a mental health
professional documenting or analyzing the contents of conversation during a private counseling session or a group, joint, or family counseling session
and that are separated from the rest of the individual's record. Psychotherapy notes require a separate authorization.] It also includes original x-ray
films and reports, laboratory reports, original CT scan films and reports, original MRI scan films and reports, EEGs, EKGs, sonograms, arteriograms,
fetal monitor strips, discharge summaries, photographs, surgery consent forms, informed consent forms regarding family planning, admission and
discharge records, operation records, doctor and nurses notes, prescriptions, medical bills, invoices, histories, diagnoses, psychiatric treatment and
counseling records, psychological treatment and counseling records, narratives, and any correspondence/memoranda and billing information. It also
includes, to the extent such frecords currently exist and are in your possession, insurance records, including Medicare/Medicaid and other public
assistance claims, applications, statements, eligibility material, claims or claim disputes, resolutions and payments, medical records provided as evidence
of services provided, and any other document or things pertaining to services furnished under Title XVII of the Social Security Act or other forms of
public assistance (federal, state, local, etc). It also includes my complete employment personnel file, including attendance reports, performance reports,
W-4 forms, W-2 forms, medical reports and/or any and all other records relating to my employment, past and present, and all educational records,
including courses taken, degrees obtained, and attendance records. This listing is not meant to be exclusive. Ex parte communications with physicians
are not permitted pursuant to this Authorization.

I, the undersigned individual am on notice that:

e Initiating this request for disclosure of protected health information, and any disclosure of the same pursuant hereto is at the request of the
individual.

e Any health care provider disclosing the above requested information may not condition treatment, payment, enroliment or eligibility for
benefits on whether the individual signs this authorization.

e This authorization can be revoked through written notice to

; or to the individual above listed entities, except to the extent that action has been
taken in reliance on this authorization. The undersigned is aware of the potential that protected health information disclosed pursuant to this
authorization is subject to re-disclosure in a manner that will not be protected by HIPAA regulations.

e——A photocopy of this authorization shall be considered as effective and valid as the original, and this authorization will remain in effect
until settlement or final disposition of Roderick Clark Miller_v. Harrison County, Mississippi, et al. or five (5) years from the date of this
authorization, whichever comes later.

I have carefully read and understand the above, and do herein expressly and voluntarily authorize the disclosure of the above information about, or
medical records of, my condition to those persons or agencies listed above.

Date:

(Signature) Patient or Patient Representative

Printed Name of Patient's Representative Relationship to Patient

Description of Representative's Authority to Act for the Patient

This authorization is designed to be in compliance with the Health Insurance Portability and Accountability Act ("HIPAA") 45
CFR Parts 160 and 164.

*Psychotherapy notes excludes medication prescription and monitoring, counseling session start and stop times, the modalities and
frequencies of treatment furnished, results of clinical tests, and any summary of the following items: diagnosis, functional status, the
treatment plan, symptoms, prognosis, and progress date.
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AUTHORIZATION FOR RELEASE OF PSYCHOTHEKAPY NOTES
Name: Roderick Clark Miller
Date of birth:

Social Security Number:

I hereby authorize all health care providers, physicians, hospitals, clinics and institutions, medical facilities, mental health clinics,
mental health hospitals, pharmacies, Social Security Administration Disability Determination Services and Department of Workers’
Claims, to release all psychotherapy note records and information regarding , to the records service of

I understand that this authorization is for release of psychotherapy notes as defined by the Health Insurance Portability and
Accountability Act 45 CFR 164.501 {psychotherapy notes means notes recorded (in any medium) by a health care provider who is a
mental health professional documenting or analyzing the contents of conversation during a private counseling session or a group, joint,
or family counseling session and that are separated from the rest of the individual's record].

I, the undersigned individual am on notice that:

¢ Initiating this request for disclosure of protected health information, and any disclosure of the same pursuant hereto is at the
request of the individual.

e Any health care provider disclosing the above requested information may not condition treatment, payment, enrollment or
eligibility for benefits on whether the individual signs this authorization.

e This authorization can be revoked through written notice to

, or to the individual above listed entities, except to the extent that
action has been taken in reliance on this authorization. The undersigned is aware of the potential that protected health information
disclosed pursuant to this authorization is subject to re-disclosure in a manner that will not be protected by HIPAA regulations.

*—A photocopy of this authorization shall be considered as effective and valid as the original, and this authorization will remain in
effect until settlement or final disposition of Roderick Clark Miller v. Harrison County, Mississippi, et al. or five (5) years from the
date of this authorization, whichever comes later.

I have carefully read and understand the above, and do herein expressly and voluntarily authorize the disclosure of the above information
about, or medical records of, my condition to those persons or agencies listed above.

Date:

(Signature) Patient or Patient Representative

Printed Name of Patient's Representative Relationship to Patient

Description of Representative's Authority to Act for the Patient

This authorization is designed to be in compliance with the Health Insurance Portability and Accountability Act ("HIPAA") 45
CFR Parts 160 and 164,

*Psychotherapy notes excludes medication prescription and monitoring, counseling session start and stop times, the modalities and
frequencies of treatment furnished, results of clinical tests, and any summary of the following items: diagnosis, functional status, the
treatment plan, symptoms, prognosis, and progress date.
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Al (ORIZATION FOR RELEASE OF ALLR’ RDS
EXCEPT PSYCHOTHERAPY NOTES

Name:
Date of birth:

Social Security Number:

I hereby authorize all health care providers, physicians, hospitals, clinics and institutions, medical facilities, mental health clinics, mental health
hospitals, pharmacies, educational facilities, former and present employers, and Social Security Administration Disability Determination Services, The
Internal Revenue Service and Department of Workers' Claims, to release all existing medical records and information regarding the above named
individual’s medical care, treatment, physical/mental condition, and medical expenses revealed by your observation or treatment of this individual in
the past, present and future, as well as all educational and employment records, to the attention of

Cy Faneca., Esq.

Dukes, Dukes, Keating and Faneca, P.A.
P.O. Drawer W

Gulfport, MS 39502

I understand that this authorization includes information regarding the diagnosis and treatment of drug, alcohol, Acquired Immune Deficiency
Syndrome (AIDS), and psychiatric and psychological disorders [EXCEPT Psychotherapy Notes* as defined by the Health Insurance Portability and
Accountability Act 45 CFR 164.501, psychotherapy notes means notes recorded (in any medium) by a health care provider who is a mental health
professional documenting or analyzing the contents of conversation during a private counseling session or a group, joint, or family counseling session
and that are separated from the rest of the individual's record. Psychotherapy notes require a separate authorization.] It also includes original x-ray
films and reports, laboratory reports, original CT_scan films and reports, original MRI scan films and reports, EEGs, EKGs, sonograms, arteriograms,
fetal monitor strips, discharge summaries, photographs, surgery consent forms, informed consent forms regarding family planning, admission and
discharge records, operation records, doctor and nurses notes, prescriptions, medical bills, invoices, histories, diagnoses, psychiatric treatment and
counseling records, psychological treatment and counseling records, narratives, and any correspondence/memoranda and billing information. It also
includes, to the extent such records currently exist and are in your possession, insurance records, including Medicare/Medicaid and other public
assistance claims, applications, statements, eligibility material, claims or claim disputes, resolutions and payments, medical records provided as evidence
of services provided, and any other document or things pertaining to services furnished under Title XVII of the Social Security Act or other forms of
public assistance (federal, state, local, etc). It also includes my complete employment personnel file, including attendance reports, performance reports,
W-4 forms, W-2 forms, medical reports and/or any and all other records relating to my employment, past and present, and all educational records,
including courses taken, degrees obtained, and attendance records. This listing is not meant to be exclusive. Ex parte communications with physicians

are not permitted pursuant to this Authorization.

I, the undersigned individual am on notice that:

¢ Initiating this request for disclosure of protected health information, and any disclosure of the same pursuant hereto is at the request of the
individual.

e Any health care provider disclosing the above requested information may not condition treatment, payment, enrollment or eligibility for
benefits on whether the individual signs this authorization.

e This authorization can be revoked through written notice to , Or
to the individual above listed entities, except to the extent that action has been taken in reliance on this authorization. The undersigned is aware
of the potential that protected health information disclosed pursuant to this authorization is subject to re-disclosure in a manner that will not be
protected by HIPAA regulations. ,

«—A photocopy of this authorization shall be considered as effective and valid as the original, and this authorization will remain in effect
until settlement or final disposition of Arethan C. Pittman v. Union Plainters Bank or five (5) years from the date of this authorization,
whichever comes first.

I have carefully read and understand the above, and do herein expressly and voluntarily authorize the disclosure of the above information about, or
medical records of, my condition to those persons or agencies listed above.

Date:

(Signature) Patient or Patient Representative

SWORN TO AND SUBSCRIBED BEFORE ME, this the __ day of 2005.

NOTARY PUBLIC
My Commission Expires:

This authorization is designed to be in compliance with the Health Insurance Portability and Accountability Act ("HIPAA") 45
CFR Parts 160 and 164.

*Psychotherapy notes excludes medication prescription and monitoring, counseling session start and stop times, the modalities and
Srequencies of treatment furnished, results of clinical tests, and any summary of the following items: diagnosis, functional status, the
treatment plan, symptoms, prognosis, and progress date.
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AUTHORIZATION FOR RELEASE OF PSYCHOTHEKAPY NOTES
Name:
Date of birth:
Social Security Number:

I hereby authorize all health care providers, physicians, hospitals, clinics and institutions, medical facilities, mental health clinics,
mental health hospitals, pharmacies, Social Security Administration Disability Determination Services and Department of Workers’
Claims, to release all psychotherapy note records and information regarding , to the records service of

I understand that this authorization is for release of psychotherapy notes as defined by the Health Insurance Portability and
Accountability Act 45 CFR 164.501 /psychotherapy notes means notes recorded (in any medium) by a health care provider who is a
mental health professional documenting or analyzing the contents of conversation during a private counseling session or a group, joint,
or family counseling session and that are separated from the rest of the individual's record].

I, the undersigned individual am on notice that:

e Initiating this request for disclosure of protected health information, and any disclosure of the same pursuant hereto is at the
request of the individual.

e Any health care provider disclosing the above requested information may not condition treatment, payment, enrollment or
eligibility for benefits on whether the individual signs this authorization.

e This authorization can be revoked through written notice to

, or to the individual above listed entities, except to the extent that
action has been taken in reliance on this authorization. The undersigned is aware of the potential that protected health information
disclosed pursuant to this authorization is subject to re-disclosure in a manner that will not be protected by HIPAA regulations.

«——A photocopy of this authorization shall be considered as effective and valid as the original, and this authorization will remain in
effect until settlement or final disposition of VS. or five (5) years from the date of this
authorization, whichever comes later.

I have carefully read and understand the above, and do herein expressly and voluntarily authorize the disclosure of the above information
about, or medical records of, my condition to those persons or agencies listed above.

Date:

(Signature) Patient or Patient Representative

Printed Name of Patient's Representative Relationship to Patient

Description of Representative's Authority to Act for the Patient

This authorization is designed to be in compliance with the Health Insurance Portability and Accountability Act ("HIPAA") 45
CFR Parts 160 and 164.

*Psychotherapy notes excludes medication prescription and monitoring, counseling session start and stop times, the modalities and
Srequencies of treatment furnished, results of clinical tests, and any summary of the following items: diagnosis, functional status, the
treatment plan, symptoms, prognosis, and progress date.
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REQUEST FOR SOCIAL SECURITY EARNINGS INFORMATION

1. From whose record do you need the earnings information?

Print the Name, Social Security Number (SSN), and date of birth below.
Social Security

Name Number
Other Name(s) Used Date of Birth
{Include Maiden Name) (Mo/Day/Yr)

2. What kind of information do you need?

[] Detailed Earnings information For the period(s)/year(s):

(If you check this block, tell us below
why you need this information.)

[] Certified Total Earnings For Each Year. For the year(s):

(Check this box only if you want the information
certified. Otherwise, call 1-800-772-1213 to
request Form SSA-7004, Request for Earnings
and Benefit Estimate Statement)

3. If you owe us a fee for this detailed earnings information, enter the amount due

using the chart on page 3... 2.0.0.0... 000 ce ee ee eee eae A. $
Do you want us to certify the information? CC] Yes [1 No
if yes, enter $15.00 Se ee ee B. $

ADD the amounts on lines A and B, and

enter the TOTAL amount... 2.0.00. 00020000. 000 eee eee eee Cc. $

¢ You can pay by CREDIT CARD by completing and returning the form on page 4, or

* Send your CHECK or MONEY ORDER for the amount on line C with the request
and make check or money order payble to “Social Security Administration"

« DO NOT SEND CASH.

4. 1 am the individual to whom the record pertains (or a person who is authorized to sign on behalf of that
individual). | understand that any false representation to knowingly and willfully obtain information from
Social Security records is punishable by a fine of not more than $5,000 or one year in prison.

SIGN your name here
(Do not print) > Date

Daytime Phone Number

{Area Code} (Telephone Number)

5. Tell us where you want the information sent. (Please print)

Duk ting & Faneca
Name Cy Faneca, _ Address pose office beaver WW
City, State & Zip Code Gulfport, MS 39502
6. Mail Completed Form(s) To: Exception: If using private contractor (e.g., FedEx) to mail form(s), use:
Social Security Administration Social Security Administration
Division of Earnings Record Operations Division of Earnings Record Operations
P.O. Box 33003 300 N: Greene St.
Baltimore Maryland 21290-3003 Baltimore Maryland 21290-0300

Form SSA-7050-F4 (1-2004) EF (01-2004) 2
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EMPLOYMENT AUTHORIZATION

TO WHOM IT MAY CONCERN:

This authorizes any employer by whom | have been employed or sought
employment, any labor union of which | am or have been a member, and any state or
federal employment agency or commission, to furnish full and complete information hereby
requested to the law offices of Dukes, Dukes, Keating and Faneca, P.A., or to any
representative, attorney, or investigator from said office, including all employment
information, employment applications, personnel files, information pertaining to my wages,
and other related matters.

| hereby agree that a copy of this authorization form shall have the same force and
effect as the original thereof.

Your full cooperation with the said attorneys is requested. You are further requested
to disclose no information to any other person without written authority to do so.

ALL PRIOR AUTHORIZATION IS HEREBY CANCELED.

Roderick Clark Miller

Social Security Number:

Date of Birth:

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om 4506 Request for Copy of Tax Return

» Do not sign this form unless all applicable lines have been completed.
(Rev. April 2006) Read the instructions on page 2. OMB No. 1545-0423
Department of the Treasury > Request may be rejected if the form is incomplete, illegible, or any required
Intemal Revenue Service line was biank at the time of signature.

Tip: You may be able to get your tax retum or return information from other sources. If you had your tax return completed by a paid preparer, they
should be able to provide you a copy of the return. The IRS can provide a Tax Retum Transcript for many returns free of charge. The transcript
provides most of the line entries from the tax return and usually contains the information that a third party (such as a mortgage company) requires.
See Form 4506-T, Request for Transcript of Tax Return, or you can call 1-800-829-1040 to order a transcript.

1a Name shown on tax return. {f a joint return, enter the name shown first. 1b First social security number on tax return or
employer identification number (see instructions)

2a If a joint return, enter spouse’s name shown on tax retum 2b Second social security number if joint tax return

3 Current name, address {including apt., room, or suite no.), city, state, and ZIP code

4 Previous address shown on the last return filed if different from line 3

5 if the tax return is to be mailed to a third party (such as a mortgage company), enter the third party's name, address, and telephone
number. The IRS has no control over what the third party does with the tax retum.

Caution: If a third party requires you to complete Form 4506, do not sign Form 4506 if lines 6 and 7 are blank.

6 Tax return requested (Form 1040, 1120, 941, etc.) and all attachments as originally submitted to the IRS, including Form(s) W-2,
schedules, or amended retums. Copies of Forms 1040, 1040A, and 1040EZ are generally available for 7 years from filing before they are
destroyed by law. Other returns may be available for a longer period of time. Enter only one retum number. if you need more than one
type of return, you must complete another Form 4506. »
Note. /f the copies must be certified for court or administrative proceedings, check here.. . . . . . ........CL

7 ~=+Year or period requested. Enter the ending date of the year or period, using the mm/dd/yyyy format. If you are requesting more than
eight years or periods, you must attach another Form 4506.

/ / / / f / / /

8 Fee. There is a $39 fee for each return requested. Full payment must be included with your request or it
will be rejected. Make your check or money order payable to “United States Treasury.” Enter your SSN
or EIN and “Form 4506 request” on your check or money order.

a Costforeachretun 2... . wk kk ke $ 39.00
b Number of returns requested on line7 . Be
c_ Total cost. Multiply line 8abyline8b . . | ww ee ee ee LS
9 If we cannot find the tax return, we will refund the fee. If the refund should go to the third party listed on line 5, check here . . CT

Signature of taxpayer{s). | declare that | am either the taxpayer whose name is shown on line ta or 2a, or a person authorized to obtain the tax
return requested. If the request applies to a joint return, either husband or wife must sign. If signed by a corporate officer, partner, guardian, tax
matters partner, executor, receiver, administrator, trustee, or party other than the taxpayer, | certify that | have the authority to execute

Form 4506 on behalf of the taxpayer.

Telephone number of taxpayer on
line 1a or 2a

| ()

» Signature (see instructions) Date

Sign
Here

» Title (if line 1a above is a corporation, partnership, estate, or trust)

» Spouse’s signature Date

For Privacy Act and Paperwork Reduction Act Notice, see page 2. Cat. No. 41721E Form 4506 (Rev. 4-2006)
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Form 4506 (Rev. 4-2006)

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Page 2

General Instructions

Section references are to the Internal
Revenue Code.

Purpose of form. Use Form 4506 to request
a copy of your tax return. You can also
designate a third party to receive the tax
return. See line 5.

How long will it take? It may take up to 60
calendar days for us to process your request.

Tip. Use Form 4506-T, Request for Transcript
of Tax Return, to request tax retum
transcripts, tax account information, W-2
information, 1099 information, verification of
non-filing, and record of account.

Where to file. Attach payment and mail Form
4506 to the address below for the state you
lived in when that retum was filed. There are
two address charts: one for individual returns
(Form 1040 series) and one for alt other
returns.

Note. /f you are requesting a retum for more
than one year and the chart below shows two
different service centers, mail your request to
the service center based on the address of
your most recent return.

Chart for individual returns
(Form 1040 series)

Chart for all other returns

If you lived in Mail to the

or your business “Internal Revenue

was in: Service” at:

Alabama, Alaska,

Arizona, Arkansas,

California, Colorado,

Florida, Georgia,

Hawaii, Idaho, lowa,

Kansas, Louisiana,

Minnesota. RAIVS Team
ISSISSIPPI, P.O. Box 9941

Missouri, Montana, Mail Stop 6734

Nebraska, Nevada,
New Mexico,

North Dakota,
Oklahoma, Oregon,
South Dakota,
Tennessee, Texas,
Utah, Washington,
Wyoming

Ogden, UT 84409

Connecticut,
Delaware, District of
Columbia, iinois,
Indiana, Kentucky,
Maine, Maryland,

Massachusetts,

Michigan, New RAIVS Team

Hampshire, New P.O. Box 145500
’ Stop .2800 F

Jersey, New York,
North Carolina,

Cincinnati, OH 45250

if you filed an Mail to the
individual return “Internal Revenue
and lived in: Service” at:
District of Columbia,

Maine, Maryland, RAIVS Team
Massachusetts, Stop 679

New Hampshire,
New York, Vermont

Andover, MA 05501

Alabama, Delaware,

Florida, Georgia, RAIVS Team

North Carolina, P.O. Box 47-421
Rhode Island, Stop 91 |

South Carolina, Doraville, GA 30362
Virginia

Arkansas, Kansas,
Kentucky, Louisiana,

RAIVS Team

Mississippi,

Oklahoma, pop & NK vaaot
Tennessee, Texas, ,

West Virginia

Alaska, Arizona,
California, Colorado,
Hawaii, Idaho,
Montana, Nebraska,
Nevada, New
Mexico, Oregon,
South Dakota, Utah,

RAIVS Team
Stop 38101
Fresno, CA 93888

Washington,

Wyoming

Connecticut, Illinois,

Indiana, lowa, RAIVS Team

Michigan, Stop 6705-B41

Minnesota, Missouri, Kansas City, MO

North Dakota, Ohio, 64999

Wisconsin

New Jersey,

Pennsylvania, a Be esse m

foreign country, or Phi
iladelphia, PA

A.P.O. or F.P.O. 19255-0695

address

Ohio, Pennsylvania,
Rhode Island, South
Carolina, Vermont,
Virginia, West
Virginia, Wisconsin

A foreign country, or § RAIVS Team

A.P.O. or F.P.O. DP 135SE

address Philadelphia, PA
19255-0695

Specific Instructions

Line 1b. Enter your employer identification
number (EIN) if you are requesting a copy of
a business return. Otherwise, enter the first
social security number (SSN) shown on the
return. For example, if you are requesting
Form 1040 that includes Schedule C (Form
1040), enter your SSN.

Signature and date. Form 4506 must be
signed and dated by the taxpayer listed on
line 1a or 2a. If you completed line 5
requesting the return be sent to a third party,
the IRS must receive Form 4506 within 60
days of the date signed by the taxpayer or it
will be rejected.

individuals. Copies of jointly filed tax
retums may be furnished to either spouse.
Only one signature is required. Sign Form
4506 exactly as your name appeared on the
original return. If you changed your name,
also sign your current name.

Corporations. Generally, Form 4506 can
be signed by: (1) an officer having legal
authority to bind the corporation, (2) any
person designated by the board of directors
or other governing body, or (3) any officer or
employee on written request by any principal
officer and attested to by the secretary or
other officer.

Partnerships. Generally, Form 4506 can be
signed by any person who was a member of
the partnership during any part of the tax
period requested on line 7.

All others. See section 6103(e) if the
taxpayer has died, is insolvent, is a dissolved
corporation, or if a trustee, guardian,
executor, receiver, or administrator is acting
for the taxpayer.

Documentation. For entities other than
individuals, you must attach the authorization
document. For example, this could be the
letter from the principal officer authorizing an
employee of the corporation or the Letters
Testamentary authorizing an individual to act
for an estate.

Signature by a representative. A
representative can sign Form 4506 for a
taxpayer only if this authority has been
specifically delegated to the representative on
Form 2848, line 5. Form 2848 showing the
delegation must be attached to Form 4506.

Privacy Act and Paperwork Reduction Act
Notice. We ask for the information on this
form to establish your right to gain access to
the requested return(s) under the Internal
Revenue Code. We need this information to
properly identify the return(s) and respond to
your request. Sections 6103 and 6109 require
you to provide this information, including your
SSN or EIN, to process your request. If you
do not provide this information, we may not
be able to process your request. Providing
false or fraudulent information may subject
you to penalties.

Routine uses of this information include
giving it to the Department of Justice for civil
and criminal litigation, and cities, states, and
the District of Columbia for use in
administering their tax laws. We may also
disclose this information to other countries
under a tax treaty, to federal and state
agencies to enforce federal nontax criminal
laws, or to federal law enforcement and
intelligence agencies to combat terrorism.

You are not required to provide the
information requested on a form that is
subject to the Paperwork Reduction Act
unless the form displays a valid OMB control
number. Books or records relating to a form
or its instructions must be retained as long as
their contents may become material in the
administration of any Internal Revenue law.
Generally, tax returns and return information
are confidential, as required by section 6103.

The time needed to complete and file Form
4506 will vary depending on individual
circumstances. The estimated average time
is: Learning about the law or the form, 10
min.; Preparing the form, 16 min.; and
Copying, assembling, and sending the form
to the IRS, 20 min.

If you have comments concerming the
accuracy of these time estimates or
suggestions for making Form 4506 simpler,
we would be happy to hear from you. You
can write to Internal Revenue Service, Tax
Products Coordinating Committee,
SE:W:CAR:MP:T:T:SP, 1111 Constitution Ave.
NW, IR-6406, Washington, DC 20224. Do not
send the form to this address. Instead, see
Where to file on this page.
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

-RODERICK CLARK MILLER PLAINTIFF
VERSUS CAUSE NO. 1:07cv541LG-JMR

HARRISON COUNTY, MISSISSIPPI, by and
through its Board of Supervisors, HARRISON
COUNTY SHERIFF DEPARTMENT, SHERIFF
GEORGE PAYNE, officially and in his

individual capacity, DIRECTOR OF CORRECTIONS
MAJOR DIANNE GATSON-RILEY, officially

and in her individual capacity, BOOKING
SUPERVISOR CAPTAIN RICK GASTON,

Officially and in his individual capacity, —

TRAINING DIRECTOR CAPTAIN PHIL TAYLOR,
Officially and in his individual capacity,

CENTRAL CONTROL OFFICER PRESTON WILLS,
officially and in his individual capacity, BOOKING
ROOM DEPUTY JERRED MARK NECAISE,
officially and in his individual capacity,

BOOKING ROOM DEPUTY CATHERINE
PAVOLINI, officially and in her individual capacity,
AMERICAN CORRECTIONAL ASSOCIATION,

and OTHER UNKNOWN JOHN and JANE DOES
A-Z, also in their official and individual capacities DEFENDANTS

FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS PROPOUNDED
TO PLAINTIFF BY DEFENDANT, SHERIFF GEORGE PAYNE, JR.,
OFFICIALLY AND IN HIS INDIVIDUAL CAPACITY

COMES NOW, the Defendant, Sheriff George Payne, Jr., Officially and in His
Individual Capacity, and by way of First Set of Request for Production of Documents in
accordance with the Federal Rules of Civil Procedure, does hereby propound the
following discovery unto the Plaintiff, pursuant to the Federal Rules of Civil Procedure,
and requests that same be answered in the manner prescribed by law.

In the following Request for Production of Documents:
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"You" and "your" means Plaintiff and all representatives, attorneys and other
parties acting on behalf of the Plaintiff.

"Document" means any written, recorded or graphic matter however produced or
reproduced.

These Requests for Production of Documents shall be deemed continuing so as
to require supplemental answers if you obtain further information between the time
responses are served and the trial of this matter.

REQUEST NO. 1: Please produce a copy of any and all documents,

photographs, video tapes and/or other demonstrative evidence which you will or may
offer as evidence at the trial of this cause.

REQUEST NO. 2: Please produce copies of any and all documents identified by
you in either your Complaint, or in your responses to Interrogatories or other written
discovery requests.

REQUEST NO. 3: Please produce copies of any documents, etc., containing any

information relevant to the issues raised in this case.

REQUEST NO. 4: Please produce copies of the reports of all expert witnesses

you propose to use at the trial of this cause.

REQUEST NO. 5: Please furnish reports of all expert consultants you have

retained or employed to assist you in preparing this case for trial.

REQUEST NO. 6: Please produce a copy of the curriculum vitae of all expert

witnesses you propose to use at the trial of this cause.

REQUEST NO. 7: Please produce a copy of the reports of all expert witnesses

Plaintiff proposes to use at the trial of this cause.
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REQUEST NO. 8: For each expert witness identified by you, please produce a

copy of every document or tangible thing relied upon by each such expert in the
formulation of his opinions, to include a copy of each such expert's file regarding this
matter.

REQUEST NO. 9: Please furnish a detailed itemization of all injuries and

damages which you claim to have sustained as a result of the conduct of the
Defendants herein.

REQUEST NO. 10: Please produce a copy of any and all medical reports and

records of physicians rendering treatment to you as a result of any illnesses or injuries
which you have in your possession, including but not limited to any illnesses or injuries

allegedly sustained as a result of the incident giving rise to this lawsuit.

REQUEST NO. 11: Please produce a copy of all hospital records, clinical
records, outpatient records, X-rays, nursing notes and other such records prepared in
connection with the treatment of the Plaintiff for the injuries alleged in the Complaint.

REQUEST NO. 12: Please produce any and all copies of incident reports or

reports of an investigation which you may have in your possession which described or
investigated the incident alleged in your Complaint or other pleadings.

REQUEST NO. 13: Please produce copies of all grievances and inmate requests

filed by you while incarcerated in the Harrison County Adult Detention Center.

REQUEST NO. 14: Please produce a copy of Plaintiffs Federal and State

Income Tax Returns for the previous five (5) years. Please sign and return the

enclosed IRS Authorization Form.
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REQUEST NO. 15: Please sign the Request for Social Security Earnings

Information attached hereto.

REQUEST NO. 16: Please produce copies of any and all letters or other

correspondence that you sent any of the Defendants.

REQUEST NO. 17: Please produce copies of any and all reports or statements,

signed or otherwise, given or made by you concerning this lawsuit, or concerning any of
your allegations which are the subject of this lawsuit.

REQUEST NO. 18: Please provide with your responses to these requests an

authorization form signed by Plaintiff which authorizes the Defendants and their agents
and attorneys to obtain any and all medical reports, medical records, X-rays, X-ray
reports, laboratory reports, nurses’ notes, physicians’ orders, mental health notes, or
records of mental health treatment, and any and all other documents relating to your
medical and/or emotional condition which you have received from any physician,
doctor, hospital or any other provider of medical or mental health services.

Please execute the attached HIPPA Medical Authorization form and in doing so,
please completely fill out the medical authorization providing all information requested
therein and initializing in the appropriate spaces where indicated. (Please note that the
attached medical authorization is intended to comply with HIPPA.)

REQUEST NO. 19: Please produce copies of any and all statements which you

may have obtained from the Defendants or any of their agents, employees or

representatives which in any way relate to the incident alleged in Plaintiffs’ Complaint.

REQUEST NO. 20: Please execute the attached employment authorization,

which authorizes Defendant or his attorneys to obtain records of your past employment.
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REQUEST NO. 21: Please produce all documents or other tangible things

which you intend to use, in any manner, at trial of this matter.

RESPECTFULLY SUBMITTED, this 15th day of November, 2007.

BY:

BY:

CY FANECA, MSB #5128

SHERIFF GEORGE PAYNE, JR., OFFICIALLY AND
IN HIS INDIVIDUAL CAPACITY

DUKES, DUKES, KEATING & FANECA, P.A.

s/Ciy Faneca Cu 4 Falcon

Cy Faneca

TRACE D. MCRANEY, MSB #9905
DUKES, DUKES, KEATING & FANECA, P.A.
2909 - 13TH STREET, SIXTH FLOOR

POST OFFICE DRAWER W
GULFPORT, MISSISSIPPI 39502
TELEPHONE - (228) 868-1111
FACSIMILE - (228) 863-2886
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CERTIFICATE OF SERVICE

1, CY FANECA, do hereby certify that | have this day electronically filed the
foregoing with the Clerk of the Court using the ECF system which sent notification of
such filing to the following:

Michael W. Crosby, Esq.
2111 25" Avenue
Gulfport, Mississippi 39501
Attorney for Plaintiff

Joseph Meadows, Esq.
Karen J. Young, Esq.
Post Office Drawer 550
Gulfport, Mississippi 39502
Attorney for Harrison County

James L. Davis, Ill, Esq.
P.O. Box 1839
Gulfport, MS 39502
Attorney for Rick Gaston

George D. Hembree, Ill
McGlinchey Stafford
P.O. Drawer 22949
Jackson, MS 39225
Attorney for American Correctional Association

This, the 15" day of November, 2007.

S/Cl4 FANeca tance

Cy Faneca
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

SOUTHERN DIVISION

RODERICK CLARK MILLER
VERSUS

HARRISON COUNTY, MISSISSIPPI, by and
through its Board of Supervisors, HARRISON
COUNTY SHERIFF DEPARTMENT, SHERIFF
GEORGE PAYNE, officially and in his

individual capacity, DIRECTOR OF CORRECTIONS
MAJOR DIANNE GATSON-RILEY, officially

and in her individual capacity, BOOKING
SUPERVISOR CAPTAIN RICK GASTON,

officially and in his individual capacity,

TRAINING DIRECTOR CAPTAIN PHIL TAYLOR,
Officially and in his individual capacity,

CENTRAL CONTROL OFFICER PRESTON WILLS,
Officially and in his individual capacity, BOOKING
ROOM DEPUTY JERRED MARK NECAISE,
Officially and in his individual capacity,

BOOKING ROOM DEPUTY CATHERINE
PAVOLINI, officially and in her individual capacity,
AMERICAN CORRECTIONAL ASSOCIATION,

and OTHER UNKNOWN JOHN and JANE DOES
A-Z, also in their official and individual capacities

PLAINTIFF

CAUSE NO. 1:07cv541LG-JMR

DEFENDANTS

FIRST SET OF INTERROGATORIES PROPOUNDED TO
PLAINTIFF BY DEFENDANT PHIL TAYLOR ,
OFFICIALLY AND IN HIS INDIVIDUAL CAPACITY

COMES NOW Defendant, Phil Taylor, Officially and in His Individual Capacity,

and by way of Interrogatories in accordance with the Federal Rules of Civil Procedure,

‘and does hereby propound the following discovery unto the Plaintiff, Roderick Clark

Miller. This discovery is continuing in nature and requires you to file supplemental

answers in accordance with the Federal Rules of Civil Procedure if you obtain further or

different information after submission of your initial answers before trial, including in
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each supplemental answer the date and manner in which further or different information
came to your attention. The interrogatories are propounded as follows, to-wit:

INTERROGATORY NO. 1: Please list each and every criminal offense for which

you were incarcerated at the Harrison County Adult Detention Center on or about April
17, 2004, and for each such charge, please state whether those charges are presently
pending, or whether the charges against Plaintiff have been resolved. If they have
been resolved, please state the manner in which they have been resolved, i.e., whether
by acquittal, dismissal, conviction, or otherwise. If convicted, please state any sentence
imposed. If any charges

INTERROGATORY NO. 2: Please state and describe in full and complete detail

each and every alleged act and/or omission on the part of Defendant Sheriff George
Payne, Jr. which you contend he performed or failed to perform herein; and as to each
and every such act or omission, state the following:

a. The statute, regulation and/or legal duty violated by such
performance or non-performance:

b. The specific manner and circumstances in which you contend the
performance or non-performance of the acts and/or omissions
violated the statute, regulation and/or duty, and in which you
contend constitutes a basis for your claim;

Cc. Specifically state whether you contend that jurisdiction in this case
is based on an alleged violation of 42 U.S.C. §1983 by any of the

Defendants;
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d. The identity of each person by name, address, telephone number
and occupation performing or failing to perform such act and/or
omission; and

e. The exact time and date at and on which you contend that the
alleged act or omission occurred.

INTERROGATORY NO. 3: Please state and describe in full and complete detail

each and every alleged act and/or omission on the part of Defendant Phil Taylor which
you contend he performed or failed to perform herein; and as to each and every such
act or omission, state the following:

a. The statute, regulation and/or legal duty violated by such
performance or non-performance;

b. The specific manner and circumstances in which you contend the
performance or non-performance of the acts and/or omissions
violated the statute, regulation and/or duty, and in which you
contend constitutes a basis for your claim;

Cc. Specifically state whether you contend that jurisdiction in this case
is based on an alleged violation of 42 U.S.C. §1983 by any of the
Defendants;

d. The identity of each person by name, address, telephone number
and occupation performing or failing to perform such act and/or

omission; and
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e. The exact time and date at and on which you contend that the alleged act

or omission occurred.

INTERROGATORY NO. 4: Please state and describe in full and complete detail

each and every alleged act and/or omission on the part of Defendant Dianne-Gatson

Riley which you contend she performed or failed to perform herein; and as to each and

every such act or omission, state the following:

a.

The statute, regulation and/or legal duty violated by such
performance or non-performance;

The specific manner and circumstances in which you contend the
performance or non-performance of the acts and/or omissions
violated the statute, regulation and/or duty, and in which you
contend constitutes a basis for your claim;

Specifically state whether you contend that jurisdiction in this case
is based on an alleged violation of 42 U.S.C. §1983 by any of the
Defendants;

The identity of each person by name, address, telephone number
and occupation performing or failing to perform such act and/or
omission; and

The exact time and date at and on which you contend that the

alleged act or omission occurred.

INTERROGATORY NO. 5: Please state and describe in full and complete detail

each and every alleged act and/or omission on the part of Defendant Catherine Pavolini
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which you contend she performed or failed to perform herein; and as to each and every
such act or omission, state the following:

a. The statute, regulation and/or legal duty violated by such
performance or non-performance;

b. The specific manner and circumstances in which you contend the
performance or non-performance of the acts and/or omissions
violated the statute, regulation and/or duty, and in which you
contend constitutes a basis for your claim;

c. Specifically state whether you contend that jurisdiction in this case
is based on an alleged violation of 42 U.S.C. §1983 by any of the
Defendants;

d. The identity of each person by name, address, telephone number
and occupation performing or failing to perform such act and/or
omission; and

e. The exact time and date at and on which you contend that the
alleged act or omission occurred.

INTERROGATORY NO. 6: Please state and describe in full and complete detail
each and every alleged act and/or omission on the part of Defendant Preston Wills
which you contend he performed or failed to perform in his official capacity herein; and
as to each and every such act or omission, state the following:

a. The statute, regulation and/or legal duty violated by such

performance or non-performance;
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b. The specific manner and circumstances in which you contend the
performance or non-performance of the acts and/or omissions
violated the statute, regulation and/or duty, and in which you
contend constitutes a basis for your claim;

C. Specifically state whether you contend that jurisdiction in this case
is based on an alleged violation of 42 U.S.C. §1983 by any of the
Defendants;

d. The identity of each person by name, address, telephone number
and occupation performing or failing to perform such act and/or
omission; and

e. The exact time and date at and on which you contend that the
alleged act or omission occurred.

INTERROGATORY NO. 7: Are you alleging that Defendant Phil Taylor,

personally caused or participated in any of the alleged violations of your constitutional
rights contained in the Compiaint, or are your claims against him based on his position
at Harrison County Sheriffs Department at the time of the incident?

INTERROGATORY NO. 8: Are you alleging that Defendant Dianne Gatson-

Riley, personally caused or participated in any of the alleged violations of your
constitutional rights contained in the Complaint, or are your claims against her based on
her position at Harrison County Sheriffs Department at the time of the incident?

INTERROGATORY NO. 9: Are you alleging that Defendant Catherine Pavolini,

personally caused or participated in any of the alleged violations of your constitutional
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rights contained in the Complaint, or are your claims against her based on her position
at Harrison County Sheriffs Department at the time of the incident?

INTERROGATORY NO. 10: Please state the employment history of the Plaintiff

for the previous ten(10) years, including in your answer, the name, address, and
telephone number of each employer, the position held by Plaintiff, his rate of pay, dates
of employment at each position, and reason for leaving each place of employment.
Also please provide the name and telephone number of your supervisor at each place
of employment.

INTERROGATORY NO. 11: Please state whether any of the medical bills or

other expenses or damages which Plaintiff alleges to have suffered in the Complaint
have previously been paid by any other source. If so, please identify which specific bills
were paid, and identify the person or entity who paid them, and also include the amount
paid.

INTERROGATORY NO. 12: Please describe any medical condition from which

you suffered from prior to entering the Harrison County Adult Detention Center, and if
so, please identify by name, address, and telephone number each and every individual
or facility which provided such treatment, the dates of such treatment, the dates of such
treatment, and a description of any diagnoses rendered.

INTERROGATORY NO. 13: State whether or not you contend that Defendant

Preston Wills was an official policy maker or that he ever had policy making authority
while employed with the Harrison County Sheriff's Department. If so, please set forth

the factual basis which you contend supports these allegations, and state the full name,
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area of specialty, expertise, complete address and telephone number of each person,
including expert(s), who has knowledge of the facts or who has opinions which you
contend support these allegations.

RESPECTFULLY SUBMITTED, this 15" day of November, 2007.

PHIL TAYLOR, OFFICIALLY AND IN HIS
INDIVIDUAL CAPACITY

BY: DUKES, DUKES, KEATING & FANECA, P.A.

BY: s/Cy Faneca U4 tnsen,

Cy Faneca

CY FANECA, MSB #5128

TRACE D. MCRANEY, MSB #9905

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Case 1:07-cv-00541-LG-JMR Document 43-2 Filed 03/05/08 Page 36 of 36

CERTIFICATE OF SERVICE

|, CY FANECA , do hereby certify that | have this day electronically filed the
foregoing with the Clerk of the Court using the ECF system which sent notification of

such filing to the following:

Michael W. Crosby
2111 25" Avenue
Gulfport, Mississippi 39501
Attorney for Plaintiff

Joseph Meadows, Esq.
Post Office Drawer 550
Gulfport, Mississippi 39502
Attorney for Harrison County

James L. Davis, Ill, Esq.
P.O. Box 1839
Gulfport, MS 39502
Attorney for Rick Gaston

George D. Hembree, Ill
McGlinchey Stafford
P.O. Drawer 22949
Jackson, MS 39225
Attorney for American Correctional Association

This, the 15th day of November, 2007.

S/CU Faneca tu Lipid,

Cy Faneca

